Case 2:17-cv-07727-PSG-JEM Document 54 Filed 03/19/18 Page 1 of 44 Page ID #:458



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                                                 UNITED STATES and FEDERAL
  16                                             AVIATION ADMINISTRATION
  17                             UNITED STATES DISTRICT COURT
  18                           CENTRAL DISTRICT OF CALIFORNIA
  19   BARRY ROSEN, Individually and as a        Case No.        2:17-cv-07727 PSG(JEMx)
       Private Attorney General,
  20                                             STIPULATION TO AMEND
              Petitioner and Plaintiff,          PLAINTIFF’S SECOND AMENDED
  21                                             PETITION
              v.
  22
       UNITED STATES GOVERNMENT,
  23   FEDERAL AVIATION                          Judge: Honorable Philip S. Gutierrez
       ADMINISTRATION, AND CITY OF
  24   SANTA MONICA,
  25          Respondents and Defendants.
  26
  27
  28
       Case No. 2:17-cv-07727 PSG(JEMx)      Stipulation to Amend Second Amended Petition
Case 2:17-cv-07727-PSG-JEM Document 54 Filed 03/19/18 Page 2 of 44 Page ID #:459



   1          Pursuant to Local Rules 7-3 and 15-1, Plaintiff Barry Rosen (“Plaintiff”), on
   2   the one hand, and Defendants City of Santa Monica (the “City”), the United States,
   3   and the Federal Aviation Administration (the “FAA”) (collectively, the
   4   “Defendants”), on the other hand, hereby stipulate as follows:
   5              1. This Court’s Standing Order requires Plaintiff to “carefully evaluate
   6   defendant’s contentions as to the deficiencies in the complaint,” and states that “[i]n
   7   most instances the moving party should agree to any amendment that would cure
   8   the defect,” (Standing Order ¶ 6(a));
   9              2. Pursuant to Local Rule 7-3 and paragraph 6(a) of this Court’s Civil
  10   Standing Order, the parties engaged in the required meet and confer discussions in
  11   advance of the City’s February 12, 2018 deadline to file its Rule 12 motion to
  12   dismiss the (Verified) Second Amended Petition for Writ of Mandate and
  13   Complaint for Declaratory and Injunctive Relief (the “Second Amended Petition”)
  14   (ECF No. 44);
  15              3. As a result of the parties’ L.R. 7-3 discussions, Plaintiff elected to
  16   amend his Second Amended Petition and file a third amended petition (the “Third
  17   Amended Petition”);
  18              4. Plaintiff has informed Defendants that he has retained counsel in this
  19   matter, Mr. Gustavo Lamanna, and thus has requested additional time to confer
  20   with Mr. Lamanna in order to prepare the Third Amended Petition;
  21              5. Given that Plaintiff has now retained counsel in this matter,
  22   Defendants have agreed to Plaintiff filing the Third Amended Petition without
  23   waiving any defenses they may have to the Third Amended Petition;
  24              6. On February 9, 2018, the parties stipulated (ECF No. 51)—and the
  25   Court ordered (ECF No. 52)—that:
  26                      a. Defendants’ deadline to respond to the Second Amended
  27   Petition is extended to March 23, 2018;
  28                      b. The parties shall file a stipulation to amend Plaintiff’s Second
       Case No. 2:17-cv-07727 PSG(JEMx)          1          Stipulation to Amend Second Amended Petition
Case 2:17-cv-07727-PSG-JEM Document 54 Filed 03/19/18 Page 3 of 44 Page ID #:460



   1   Amended Petition by March 19, 2018, in compliance with L.R. 15-1; and
   2                      c. Plaintiff shall file his Third Amended Petition by March 19,
   3   2018.
   4                7. Local Rule 15-1 states that “[a]ny proposed amended pleading must
   5   be filed as an attachment to the related . . . stipulation.”
   6                8. The parties now wish to file their stipulation to amend Plaintiff’s
   7   Second Amended Petition in compliance with L.R. 15-1;
   8                9. The parties agree that Plaintiff’s Third Amended Petition—a proposed
   9   copy of which is filed as an attachment to this Stipulation—is deemed filed and
  10   served as of the date this Stipulation is filed;
  11                10. The parties agree that Defendants shall respond to Plaintiff’s Third
  12   Amended Petition, by motion or otherwise, on or before April 23, 2018.
  13
  14   THEREFORE, in compliance with this Court’s order dated February 14, 2018
  15   (ECF No. 52), the parties hereby stipulate, subject to the Court’s approval, that:
  16           1.      Plaintiff’s Third Amended Petition—a proposed copy of which is filed
  17   as an attachment to this Stipulation—is deemed filed and served as of the date this
  18   Stipulation is filed; and
  19           2.      Defendants shall respond to Plaintiff’s Third Amended Petition, by
  20   motion or otherwise, on or before April 23, 2018.
  21
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       Case No. 2:17-cv-07727 PSG(JEMx)          2           Stipulation to Amend Second Amended Petition
Case 2:17-cv-07727-PSG-JEM Document 54 Filed 03/19/18 Page 4 of 44 Page ID #:461



   1   Dated: March 19, 2018              IN PRO PER
   2
   3                                      By: /s/ Barry Rosen
                                              BARRY ROSEN
   4
   5
   6   Dated: March 19, 2018              CITY OF SANTA MONICA
   7
   8                                      By: /s/ Ivan O. Campbell
                                              IVAN O. CAMPBELL
   9
                                             Attorneys for Defendant
  10                                         CITY OF SANTA MONICA
  11
  12
       Dated: March 19, 2018              GARY D. FELDON, Trial Attorney
  13
                                          UNITED STATES DEPARTMENT OF
  14                                      JUSTICE
  15
  16
                                          BY: /s/ Gary D. Feldon
  17                                          GARY D. FELDON
  18                                         Attorneys for Defendants
                                             UNITED STATES and FEDERAL
  19                                         AVIATION ADMINISTRATION
  20
  21
  22
  23
  24
  25
  26
  27
  28
       Case No. 2:17-cv-07727 PSG(JEMx)      3         Stipulation to Amend Second Amended Petition
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   1                                      ECF ATTESTATION
   2          I, Ivan O. Campbell, am the ECF user whose ID and password are being used
   3   to file this STIPULATION TO AMEND PLAINTIFF’S SECOND AMENDED
   4   PETITION. In accordance with Civil Local Rule 5-4.3.4, concurrence in and
   5   authorization of the filing of this document has been obtained from Barry Rosen,
   6   Plaintiff in Pro Per, and Gary D. Feldon, counsel for Defendants United States and
   7   Federal Aviation Administration, and I shall maintain records to support this
   8   concurrence for subsequent production for the Court if so ordered or for inspection
   9   upon request by a party.
  10
  11   Dated: March 19, 2018                   CITY OF SANTA MONICA
  12
  13                                           By: /s/ Ivan O. Campbell
                                                     IVAN O. CAMPBELL
  14
  15
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       Case No. 2:17-cv-07727 PSG(JEMx)        4         Stipulation to Amend Second Amended Petition
 Case 2:17-cv-07727-PSG-JEM Document 54 Filed 03/19/18 Page 6 of 44 Page ID #:463



 1   BARRY ROSEN
 2   136 S. Clark Dr. #5
     Los Angeles, CA 90048
 3
     Tel: (323) 653-2043
 4
     In Pro Per
 5

 6
                           UNITED STATES DISTRICT COURT
 7

 8                        CENTRAL DISTRICT OF CALIFORNIA
 9
                  BARRY ROSEN,                   Case No. 17-CV-07727-PSG-JEMx
10   Individually and as a Private Attorney
11   General
                  Petitioner and Plaintiff,      (VERIFIED) THIRD AMENDED
12                                               PETITION FOR WRIT OF
13                       vs.                     MANDATE AND COMPLAINT
                                                 FOR DECLARATORY AND
14
     UNITED STATES GOVERNMENT,                   INJUNCTIVE RELIEF FOR
15   FEDERAL AVIATION                            VIOLATIONS OF
16
     ADMINISTRATION, AND CITY OF                 ADMINSTRATIVE PROCEDURE
     SANTA MONICA,                               ACT (APA), NATIONAL
17               Respondents and                 ENVIROMENTAL POLICY ACT
18   Defendants.                                 (NEPA), CALIFORNIA
                                                 ENVIROMENTAL QUALITY ACT
19                                               (CEQA), CALIFORNIA STATE
20                                               AERONAUTICS ACT, ET AL.
21

22

23

24         This action seeks in part to invalidate the 2017 Settlement Agreement/
25   Consent Decree (“Decree”) by and between the Federal Aviation Administration
26   and City of Santa Monica related to Santa Monica Airport as invalid ab initio, due
27   to the fact that the City improperly hired outside attorney’s in violation of its own
28    THIRD AMENDED PETITION FOR WRIT OF MANDATE AND COMPLAINT FOR DECLARATORY AND
                                     INJUNCTIVE RELIEF
                                             1
 Case 2:17-cv-07727-PSG-JEM Document 54 Filed 03/19/18 Page 7 of 44 Page ID #:464



 1
     City Charter and related Municipal Code(s) and then improperly filed the lawsuit
 2
     (13-CV-08046-JFW-VBKx) without first having filed an administrative claim with
 3
     the United States Government (or the proper agency thereof) and waiting six
 4
     months pursuant to 28 U.S.C. § 2675 of the Federal Tort Claims Act (“FTCA”) et
 5
     al and was therefore forever precluded from doing so pursuant to 28 U.S.C § 2401
 6
     and thus the court lacked jurisdiction over the matter due to the failure to present
 7
     such a claim. Furthermore, that prerequisite administrative claim would have first
 8

 9
     needed to have been presented to the appropriate agencies United States General

10   Services Administration (“GSA”), which is the successor agency to the War Assets

11   Administration, with whom the City of Santa Monica had actually contracted
12   under the1948 Instrument of Transfer (“Contract”), et al. Moreover, the Federal
13   Aviation Administration “(FAA”) lacked or otherwise overstepped its authority
14   and/or violated the Administrative Procedure Act (APA) in entering into the
15   Decree as it was never granted such authority by the US Congress pursuant to the
16   United States Code (“USC”), nor was it in any way was a party to the Contract;
17   failure to consider the dispute before entering into the Decree placed the FAA
18   contractual obligation without any force of law or regulation. Even if the City had
19   presented a proper claim (which it did not do) the GSA would have lacked the
20
     authority to fully release the airport as such relief could only be granted by an act
21
     of congress, as under the War Surplus Act, Congress intended that the Contract for
22
     the use as an airport, be in perpetuity and thus there is no provision in the USC for
23
     the full release of airport lands subject to the Contract pursuant to the previous acts
24
     of Congress. Plaintiff further seeks to invalidate the Decree due to the fact that
25
     certain city council members may have been precluded from voting for it and
26
     should have recused themselves due to conflicts of interest, et al under the
27
     California Political Reform Act. Additionally, the persons who where the
28    THIRD AMENDED PETITION FOR WRIT OF MANDATE AND COMPLAINT FOR DECLARATORY AND
                                     INJUNCTIVE RELIEF
                                             2
 Case 2:17-cv-07727-PSG-JEM Document 54 Filed 03/19/18 Page 8 of 44 Page ID #:465



 1
     signatories on the Contract for both the FAA and the City lacked any legal
 2
     authority to do so and thus the Contract is invalid for that reason alone. The FAA
 3
     signatories failed to comply their own law and regulations and those of the City
 4
     violated the City’s Charter.
 5
           Plaintiff also seeks to invalidate the previous improper release of lands at
 6
     Santa Monica Airport by the FAA pursuant a 1984 agreement with the City of
 7
     Santa Monica due to the fact that the FAA full lacked authority in releasing said
 8

 9
     lands due in part to the fact that it is not the successor to the Administrator listed in

10   the Contract who is/was charged with such authority by Congress pursuant to the

11   United States Code.
12         Even if this Court should find that the City of Santa Monica’s lawsuit was
13   proper and that the FAA had authority to approve the relief requested (which it did
14   not have), the FAA’s actions were still illegal and in violation of the
15   Administrative Procedure Act and the National Environmental Protection Act, as
16   they acted arbitrarily, capriciously, contrary to law, abused their discretion, and
17   failed to follow the required procedures, including but not limited to failing to
18   consider the full effects of their actions and the rights of all interested and/or
19   affected parties, along with obtaining commentaries for those affected parties and
20
     the public in general. Such parties include the United States Department of
21
     Defense and other US Agencies that have certain rights under the Contract, along
22
     with other parties that have rights over Santa Monica Airport such as State of
23
     California that has eminent domain under the California State Aeronautics Act
24
     (California Public Utilities Code § 21001 et seq.), the Plaintiff’s in the Part 16
25
     actions that were pending against the City of Santa Monica related to various
26
     violations of various Federal obligations and finally the general public and users of
27
     Santa Monica Airport. Moreover, the Federal Aviation Administration can neither
28    THIRD AMENDED PETITION FOR WRIT OF MANDATE AND COMPLAINT FOR DECLARATORY AND
                                     INJUNCTIVE RELIEF
                                             3
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 1
     exempt itself, nor the City of Santa Monica from obligations under the National
 2
     Environmental Protection Act and required environmental impact studies
 3
     thereunder. The FAA therefore could not grant the right to the allow the City of
 4
     Santa Monica to almost immediately shorten the runway without having first
 5
     required Environmental Studies pursuant to NEPA. Moreover, under the Decree,
 6
     the City of Santa Monica is fully responsible for complying with its state and
 7

 8
     federal environmental requirements related to its planning and implementation

 9
     of modifications at SMO, include the cost of conducting any necessary
10   environmental studies or other requirements under NEPA. Plaintiff is aware that
11   Santa Monica has not abided by or has otherwise breached such obligations, and
12   that the FAA has also failed enforced those obligations.
13         Plaintiff is aware that the FAA has fully failed to ensure that the City of
14   Santa Monica complies with all applicable regulations and obligations governing
15   the operation and use Santa Monica Airport, as it has fully failed to do so. As such
16   Plaintiff now seeks a Writ of Mandate on the FAA to ensure that the City of Santa
17   Monica complies with the regulations and obligations that fall within the actual
18   authority of the FAA to regulate flight operations at the airport, along with federal
19   grant assurances.
20
            Lastly, even if the Court should find FAA did not violate either the APA or
21
     NEPA, the City of Santa Monica has not met its obligations to comply with all
22
     State and local regulations pursuant to the requirements of the Decree and the
23
     terms of the 1984 Agreement with the Federal Aviation Administration, including
24
     but not limited to violation of the California State Aeronautics Act and California
25
     Environmental Quality Act [CEQA] (CA Pub. Res. Code, § 21050 et seq) and
26
     finally the regulations of the City of Los Angeles, with whom Santa Monica shares
27

28    THIRD AMENDED PETITION FOR WRIT OF MANDATE AND COMPLAINT FOR DECLARATORY AND
                                     INJUNCTIVE RELIEF
                                             4
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 1
     co-jurisdiction over the airport as the eastern portion is located in the City of Los
 2
     Angeles.
 3
           Petitioner and Plaintiff, BARRY ROSEN, alleges against Defendants
 4
     UNITED STATES GOVERNMENT, FEDERAL AVIATION
 5
     ADMINISTRATION AND CITY OF SANTA MONICA inclusive as follows:
 6
                                           PARTIES
 7
                                            Plaintiff
 8

 9
     1.    Plaintiff BARRY ROSEN (“Plaintiff”) is an individual who currently and at

10   all relevant times has resided within the County of Los Angeles, California.

11   BARRY ROSEN is a licensed pilot, a user of Santa Monica Airport (“SMO”) and
12   owner of an aircraft based at SMO and who has been injured and continues to face
13   damages by the Defendants improper actions. Plaintiff is a beneficially interested
14   party and also brings this cause of action as a Private Attorney General under the
15   Private Attorney General Doctrine in the public interest for the benefit of other
16   persons similarly affected or situated.
17                                        Defendants
18   2.    Defendant UNITED STATES GOVERNMENT, FEDERAL AVIATION
19   ADMINISTRATION (“FAA”) is an agency of the United States government and
20
     bears responsibility, in whole or in part, for the acts complained of in this
21
     Complaint.
22
     3.    Defendant CITY OF SANTA MONICA (“CSM”) was and now is a
23
     municipal corporation organized and existing under the laws of the State of
24
     California and claims to be a Charter City, and operates Santa Monica Airport
25
     (“SMO”) and bears responsibility, in whole or in part, for the acts complained of in
26
     this Complaint.
27

28    THIRD AMENDED PETITION FOR WRIT OF MANDATE AND COMPLAINT FOR DECLARATORY AND
                                     INJUNCTIVE RELIEF
                                             5
 Case 2:17-cv-07727-PSG-JEM Document 54 Filed 03/19/18 Page 11 of 44 Page ID #:468



 1
                               JURISDICTION AND VENUE
 2
     4.    Plaintiff incorporates by reference each allegation contained in the foregoing
 3
     paragraphs of this Complaint and all Exhibits as if fully set forth herein.
 4
     5.    This Court has jurisdiction over this action pursuant to 28 U.S.C. § 1331
 5
     (action arising under the laws of the United States), 28 U.S.C. § 1346 (United
 6
     States as defendant), 28 U.S.C. § 1361 (action to compel officer or agency to
 7
     perform duty owed to Plaintiffs), 5 U.S.C. §§ 701-706 (Administrative Procedure
 8

 9
     Act) and 28 U.S.C. § 1367 (Supplemental jurisdiction over additional claims

10   substantially related to the original claim).

11   6.    An actual controversy exists between the parties within the meaning of 28
12   U.S.C. § 2201(a), and this Court may grant declaratory relief, injunctive relief, and
13   other relief pursuant to 28 U.S.C. §§ 2201-2202 and 5 U.S.C. §§ 705-706.
14   7.    Venue is proper in this Court pursuant to 28 U.S.C. § 1391(e) because this is
15   the judicial district in which both Plaintiff and Defendant City of Santa Monica
16   resides and this action seeks relief against a Federal Agency and/or because a
17   substantial part of the events giving rise to the claims have occurred in this district
18   due to decisions and actions by Defendants.
19                              FACTUAL ALLEGATIONS
20
     8.    Plaintiff incorporates by reference each allegation contained in the foregoing
21
     paragraphs of this Complaint and all Exhibits as if fully set forth herein.
22
     9.    Plaintiff, Barry Rosen, is a Pilot and user of Santa Monica Airport (“SMO”),
23
     and regularly performs Aircraft operations into and out of Santa Monica Airport
24
     (“SMO”), including those with his own Aircraft, which is based there. Plaintiff has
25
     also been damaged by the acts complained of in this Complaint and is therefor an
26
     affected and beneficially interested party.
27

28    THIRD AMENDED PETITION FOR WRIT OF MANDATE AND COMPLAINT FOR DECLARATORY AND
                                     INJUNCTIVE RELIEF
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 1
     10.   Plaintiff also brings this Action in the public interest as a Private Attorney
 2
     General due to there being hundreds if not thousands of persons that are similarly
 3
     affected or situated.
 4
     11.   SMO is one of the oldest and busiest single-runway general aviation airports
 5
     in the country. Over 80,000 aircraft operations occur at the Airport annually.
 6
     12.   The City of Santa Monica lacks full sovereign jurisdiction of SMO as the
 7
     eastern most portion of SMO is located within the City of Los Angeles and is fully
 8

 9
     subject to the jurisdiction of the City of Los Angeles. The City has previously

10   acknowledged such jurisdiction by the City of Los Angeles. Such acknowledgment

11   includes having previously pulled construction permits from the City of Los
12   Angeles for construction work done in the Los Angeles portion of the airport.
13   13.   The City of Santa Monica leased SMO to the federal government during
14   World War II, during which the Federal Government purchased additional land
15   and thereby enlarged and reconfigured the SMO into its current runway and
16   taxiway configuration. In 1948, the Federal Government transferred Airport land,
17   buildings, structures, improvements and equipment to the City for public airport
18   purposes via a 1944 War Surplus Property Act Instrument of Transfer in 1948.
19   That 1948 Instrument of Transfer demonstrates that the Contract was with the War
20
     Assets Administration (the successor of which is the General Services
21
     Administration), as well as the burdens and covenants running with the land,
22
     binding the City and “its successor and assigns forever,” requiring the Airport to be
23
     used for ‘air park,’ civil aviation, and airport purposes forever.
24
     14.   The Terms set forth in the 1948 Instrument of Transfer were dictated by an
25
     act of Congress pursuant to the Surplus Property Act of 1944.
26

27

28    THIRD AMENDED PETITION FOR WRIT OF MANDATE AND COMPLAINT FOR DECLARATORY AND
                                     INJUNCTIVE RELIEF
                                             7
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 1
     15.   The City clearly agreed to the terms of that Contract when it approved it by
 2
     passing a City Council resolution accepting the Contracts terms and then signing
 3
     the Contract.
 4
     16.   That 1948 Instrument of Transfer demonstrates that the United States of
 5
     America (Federal Government) has certain rights to utilize SMO and that in the
 6
     event of a national emergency can take exclusive possession of the SMO (see 1948
 7
     Instrument of Transfer paragraphs 2 and 3). It also gave the right to the War Assets
 8

 9
     Administration or successor thereto to take possession of the Airport should the

10   City of Santa Monica fail to perform its obligations thereunder.

11   17.   That 1948 Instrument of Transfer also demonstrates that portions of the
12   property may have restrictions released for non-aviation purposes only if those
13   purposes do not materially affect operation or maintenance of the Airport at which
14   such property is located and that in order to effect such release, a payment shall be
15   made to the War Assets Administration or successor thereto for the removal of
16   such restrictions.
17   18.   Pursuant to the Federal Property and Administrative Services Act of 1949, et
18   seq, congress designated new successors to the parties listed in the 1948 Instrument
19   of Transfer, which did not include the FAA, which did not come into existence
20
     until 1959 (ten years later).
21
     19.   In 1984, the City of Santa Monica and FAA entered into an agreement (for
22
     reasons that are not fully apparent) that amongst other things, (improperly)
23
     released land restrictions on portions of Santa Monica Airport for non-aviation
24
     purposes, when the FAA had absolutely no congressional authority to do so.
25
     Although the agreement expired in July of 2015, the remnants of said agreement
26
     remain, including the fact that CSM only recently removed numerous acres of land
27
     from Aviation usage.
28    THIRD AMENDED PETITION FOR WRIT OF MANDATE AND COMPLAINT FOR DECLARATORY AND
                                     INJUNCTIVE RELIEF
                                             8
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 1
     20.   Some of those recently removed lands were still being used for aviation and
 2
     subjected in a federal grant assurances in 2003, obligating those lands to continue
 3
     to be used for aviation purposes until at least 2023. The City improperly ceased
 4
     using those lands for aviation purposes in 2016, in violation of their federal grant
 5
     assurances. The FAA has fully failed to take action to correct the grant assurance
 6
     violation(s).
 7
     21.   Paragraph 6 of the 1984 Agreement also demonstrates that no consideration
 8

 9
     was ever given to the fact that a payment shall made to the War Assets

10   Administration or successor thereto for the removal of such land use restrictions as

11   required under the 1948 Instrument of Transfer.
12   22.   The 1984 Agreement also demonstrates that the City of Santa Monica had
13   perform certain obligations under the agreement, including the development and
14   implementation of an Airport Layout Plan (aka Airport Land Use Plan) and that
15   CSM must be in conformity with State and local planning law (see sections 5 & 6).
16   Such conformity would include environmental studies under the California
17   Environmental Quality Act, approval of the Airport Land Use Plan by the Los
18   Angeles County Airport Land Use Commission (“ALUC”) (Public Utilities Act §
19   21675.1), and all appropriate approvals by the City of Los Angeles (and its City
20
     Council) pursuant to the Los Angeles City Charter and Municipal code.
21
     23.   Plaintiff is informed and believes that City of Santa Monica fully failed to
22
     perform its obligations under the 1984 Agreement and thus the agreement was
23
     probably never effective or valid.
24
     24.   In October 2013, the City of Santa Monica brought an action against the
25
     United States Federal Aviation Administration in City of Santa Monica v. United
26
     States Government Federal Aviation Administration, et al., Case No. CV 13-8046-
27
     JFW-VBKx (C.D. Cal.) (hereafter “Action”). This Action alleged five causes of
28    THIRD AMENDED PETITION FOR WRIT OF MANDATE AND COMPLAINT FOR DECLARATORY AND
                                     INJUNCTIVE RELIEF
                                             9
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 1
     action for: Quiet Title; Violations of the Fifth Amendment under theories of
 2
     Taking, Regulatory Taking, and due process; and Violation of the Tenth
 3
     Amendment. The prayer for relief demanded: Declaratory judgments regarding the
 4
     title to the Airport Property and the City’s contentions regarding violations of the
 5
     United States Constitution; that the court “enjoin the United States from taking any
 6
     action affecting Santa Monica’s right, title, or interest in the Airport Property …
 7
     from demanding or asserting in any forum that Santa Monica must operate the
 8

 9
     Airport Property as an airport in perpetuity”; and that the court “order that the

10   United States shall cease and desist from taking any action to require Santa Monica

11   to operate the Airport Property as an airport after the 1984 Agreement expires in
12   July of 2015.”
13   25.   In bringing the 2013 Action, the City Attorney improperly hired an outside
14   law firm (Morrison & Foerster) to bring the lawsuit in violation of both § 608 of
15   the City Charter and § 2.24.073 of the Municipal Code.
16   26.   Prior to filing the 2013 Action, the City failed to file a claim with the
17   “appropriate government agency” and wait six (6) months pursuant to 28 U.S.C. §
18   2675, et al before bringing a Quite Title Action, etc. As a result, the City was/is
19   precluded from bringing a claim pursuant to 28 U.S.C § 2401.
20
     27.   In January 2017, the City of Santa Monica and FAA improperly entered into
21
     a Settlement Agreement/ Consent Decree to settle Case No. CV 13-8046-JFW
22
     (VBKx) (C.D. Cal.). As part of that agreement, the FAA (improperly) consented to
23
     the full release of the land restrictions and the eventual closing of the airport, along
24
     with an almost immediate shortening of the runway at SMO to 3500 feet (with 30
25
     days notice) and that “The City shall be responsible for complying with its state
26
     and federal environmental requirements related to its planning and implementation
27
     of modifications at SMO. The City's responsibility shall include the cost of
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                                     INJUNCTIVE RELIEF
                                            10
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 1
     conducting any necessary environmental studies or other requirements under the
 2
     National Environmental Policy Act (NEPA). 42 U.S.C. § 4321 et seq.”
 3
     28.   The City thereafter violated numerous Federal, State and local laws in
 4
     performing the Construction work at Santa Monica Airport to shorten the runway,
 5
     including but not limited to doing construction work without having first obtained
 6
     construction permits for such work pursuant to both the Santa Monica Municipal
 7
     and Los Angeles Municipal codes.
 8

 9
     29.   This action now arises in part from the fact that the City of Santa Monica

10   improperly filed the Action without first having submitted a prerequisite claim

11   pursuant to 28 U.S.C. § 2675, and that the FAA either fully lacked any authority or
12   that it overstepped its authority and/or violated the Administrative Procedure Act
13   (APA) in entering into the Decree and by releasing lands pursuant to the 1984
14   agreement and that the FAA has failed to do little if any oversight regarding
15   regulatory compliance by the City Santa Monica, ET AL as outlined below:
16                        Invalid Contract with Outside Counsel
17   30.   In the fall of 2013, the Santa Monica City Attorney hired an outside law firm
18   (Morrison & Foerster) to bring a lawsuit against the FAA on behalf of the City of
19   Santa Monica. Pursuant to § 608 of the City Charter and § 2.24.073 of the
20
     Municipal Code, the City Attorney had to meet certain obligations in order to hire
21
     outside counsel, including but not limited to conducting a competitive search
22
     process via requests for proposals or by the express approval of the City Council.
23
     31.   In October 2017, Plaintiff sought to obtain records pursuant to the California
24
     Public records Act (CA Government Code § 54950 et seq) to see if the City
25
     Attorney had met the obligations for hiring outside counsel Pursuant to § 608 of
26
     the City Charter and § 2.24.073 of the Municipal Code. No documents whatsoever
27

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                                     INJUNCTIVE RELIEF
                                            11
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 1
     were produced to demonstrate that the City Attorney (and/or City Council) had
 2
     complied with all obligations required for hiring outside counsel.
 3
     32.   Plaintiff is informed and believes that City Attorney neither conducted a
 4
     competitive search nor sought the express approval of the City Council as required
 5
     by both the City Charter and Municipal Code and that the contract with Morrison
 6
     & Foerster was invalid ab initio because of the failure to do so.
 7
     33.   Plaintiff is informed and believes that the contract with Morrison & Foerster
 8

 9
     should now be struck down by the invalid ab initio, along with all work product

10   related thereto due the CSM’s failure to comply with its own City Charter and

11   Municipal Code in contracting with outside counsel.
12   Santa Monica had absolutely no right to bring an Action pursuant to 28 U.S.C.
13                                      § 2675, Et Al.
14   34.   As discussed above, prior to bringing the type of Action that was brought,
15   the City was required to file a claim with the “appropriate government agency” and
16   wait six (6) months pursuant to FTCA, 28 U.S.C. § 2675, et al before bringing
17   such an action. Pursuant to 28 U.S.C. 2409a(m), the City, like the State, would be
18   required to notify the FAA six (6) months prior to filing its suit; 28 U.S.C.
19   2409a(g), also serves as a bar to the relief sought. Without ever having filed such
20
     claims and exhausted administrative remedies, it is well settled in case law that the
21
     City was precluded from bringing such a claim pursuant to 28 U.S.C § 2401,
22
     pursuant to the doctrine of "sovereign immunity”.
23
     35.   As discussed above, such an administrative claim under both 28 U.S.C. §§
24
     2675(a) and 2409a(m), would need to have been filed with the appropriate
25
     agency/agencies. In this instance, the appropriate agency at a minimum was the
26
     GSA (successor to the War Assets Administration). As the claim involved
27
     numerous issues concerning multiple agencies, it is likely that there were at least 3
28    THIRD AMENDED PETITION FOR WRIT OF MANDATE AND COMPLAINT FOR DECLARATORY AND
                                     INJUNCTIVE RELIEF
                                            12
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 1
     separate administrative claims that were needed to have been presented to multiple
 2
     federal agencies.
 3
     36.   Plaintiff is informed and believes that no evidence exists that the City ever
 4
     filed such an administrative claim (or claims) under 28 U.S.C. § 2675, et al, prior
 5
     to bringing the Action at issue and was therefore precluded from bringing such an
 6
     Action. Absence of such evidence divests both the FAA and City from the force of
 7
     law sought under the Decree; in other words, the Court, FAA, and City had no
 8

 9
     authority without the claim filing a priori.

10   37.   Plaintiff is informed and believes that the lawsuit was filed by City because

11   of false assumptions it had made about the 1948 Instrument of Transfer, rather than
12   the terms and conditions actually contained within it. Plaintiff further believes that
13   numerous inappropriate actions taken by the FAA itself over time (including the
14   1984 agreement), have further promulgated these false assumptions by the City.
15   38.   Plaintiff is informed and believes that the City (and or its outside attorney’s
16   acting on its behalf) failed to do their proper due diligence prior to filing the Action,
17   including but not limited to filing administrative claims with the appropriate
18   agencies.
19   39.   Plaintiff is informed and believes that the Action should now be struck down
20
     as invalid ab initio due the CSM’s failure file an administrative claim with the
21
     appropriate agency (or agencies) and/or exhaust all administrative options prior to
22
     commencing the Action.
23
                    The Court Lacked Jurisdiction over CSM’s Action
24
     40.   The requirement that a claim be asserted administratively (28 U.S.C. § 2675,
25
     28 U.S.C. § 2409a(m)) is jurisdictional and must be properly framed in the
26
     complaint (Rule 8(a), F.R.C.P.). It should allege that an administrative claim was
27
     asserted and was either denied or that after a period of 6 months the agency
28    THIRD AMENDED PETITION FOR WRIT OF MANDATE AND COMPLAINT FOR DECLARATORY AND
                                     INJUNCTIVE RELIEF
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 1
     concerned failed to make final disposition of the claim. Without such proper
 2
     framing and allegation, the Court lacks jurisdiction over the action.
 3
     41.   Plaintiff is informed and aware that it is clear that the City of Santa Monica
 4
     failed to allege in its complaint that an administrative claim was asserted. As a
 5
     result, the court fully lacked jurisdiction over the Action
 6
     42.   Where the facts disclose that an administrative claim has not been filed or
 7
     finally acted upon, the U.S. Attorney has an obligation to advise the plaintiff's
 8

 9
     counsel, in writing, of the jurisdictional defect in the action, request that the

10   plaintiff take a voluntary nonsuit, and advise that unless this is done within 10 days,

11   the United States will be obliged to move to dismiss the action for failure to pursue
12   and exhaust the administrative remedy. This also give rise to a question as to the
13   application of the statute of limitations in 28 U.S.C. 2401(b).
14   43.   Plaintiff is informed and believes that U.S. Attorney did not artfully perform
15   its duties to advise the plaintiff's counsel, in writing of the jurisdictional defect in
16   the Action and/or move to dismiss the action for failure to pursue and exhaust the
17   administrative remedy pursuant to the obligation to do so.
18   44.   Plaintiff is informed and believes that the Action should now be struck down
19   as invalid ab initio due the fact that the court lacked jurisdiction due to CSM’s
20
     failure file an administrative claim (and exhaust its administrative remedies) with
21
     the appropriate agency (or agencies) prior to commencing the Action.
22
                  FAA Overstepped its Authority in the 1984 Agreement
23
     45.   As discussed above, in 1984, the City of Santa Monica and FAA entered into
24
     an agreement (for unknown reasons) that amongst other things, released land
25
     restrictions on portions of Santa Monica Airport for non-aviation purposes. Such
26
     release was completely improper as the actual release would have needed to come
27
     from successors of both the GSA (the successor to the War Assets Administration)
28    THIRD AMENDED PETITION FOR WRIT OF MANDATE AND COMPLAINT FOR DECLARATORY AND
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                                            14
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 1
     and statutory successor to the Administrator of the Civil Aeronautics
 2
     Administration pursuant to various provisions of the United States Code as
 3
     codified by acts of Congress in 1949, 10 years before the FAA came into existence.
 4
     46.   Plaintiff is informed and believes that the FAA (and its administrator) are
 5
     not the statutory successor to the Administrator of the Civil Aeronautics
 6
     Administration and therefore had no statutory authority (as codified by act of
 7
     Congress in the United States Code) to release land restrictions on portions of
 8

 9
     Santa Monica Airport for non-aviation purposes.

10   47.   It is also clear that the 1984 Agreement demonstrates that no consideration

11   was ever given to the fact that as defined in the 1984 Agreement itself, “a payment
12   shall made to the War Assets Administration or successor thereto for the removal
13   of such land use restrictions” and thus any release of any land restrictions on
14   portions of Santa Monica Airport for non-aviation purposes was invalid ab initio.
15   48.   While the 1984 Agreement expired in July of 2015, the ongoing remnants of
16   said agreement remain, including the fact that CSM as recently as 2016 removed
17   numerous acres of land at SMO from Aviation usage and intends to remove even
18   more. Plaintiff is informed and also believes that the acres of land removed from
19   aviation usage last year were in violation of the terms a 2003 federal grant
20
     assurance.
21
     49.   Plaintiff is informed and believes that the FAA is aware that the 2016
22
     removal of lands was in fact in violation of the terms a 2003 federal grant
23
     assurance, but has failed to take any steps pursuant to its ministerial obligations to
24
     enforce the grant assurance.
25
     50.   Plaintiff is informed and believes that any releases of land restrictions on
26
     portions of Santa Monica Airport for non-aviation purposes pursuant to the 1984
27

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                                     INJUNCTIVE RELIEF
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 1
     agreement should now be struck down as invalid due to the fact that the FAA had
 2
     no authority to release such lands in the first instance.
 3
           The Decree is Invalid ab initio because FAA Overstepped its Authority
 4
     51.     As discussed above, the 1948 Instrument of Transfer demonstrates that the
 5
     contract was between the City of Santa Monica and the War Assets Administration
 6
     (the successor of which is the General Services Administration) and not with the
 7
     FAA and that the full relief sought under 13-CV-08046-JFW-VBKx could never
 8

 9
     has been granted the FAA as it would actually take an act of congress to fully

10   release the airport from obligations under the 1948 instrument of transfer pursuant

11   to the War Surplus Act of 1944, et al. In a case involving the Half Moon Bay
12   Airport, the Federal government successfully asserted its interest against a water
13   district and set out relevant precedent as they too had roughly similar covenants as
14   before the Court; furthermore and in line with that case, the City’s attempt to quiet
15   the Federal government’s interest in the Santa Monica Airport may not even
16   squarely fit inside the quiet title act as the City and FAA had a dispute on the status
17   of the airport and not title per se. Montara Water and Sanitary Dist. vs. County of
18   San Mateo (N. D. Cal., 2009) 598 F. Supp.2d 1070, 1076 citing Kansas vs. United
19   States (10th Cir. 2001) 249 F.3d 1213, 1225 (disputes concerning the status are not
20
     title disputes).
21
     52.     It is also clear that under the 1948 Instrument of Transfer, that even if the
22
     FAA and its Administrator had authority (which it does not have) to do anything, it
23
     would at best be limited to only releasing of portions of the airport property from
24
     restrictions for non-aviation purposes, and only if those purposes do not materially
25
     affect operation or maintenance of the Airport at which such property is located. It
26
     is abundantly clear that the FAA does not have any authority to allow closure of an
27
     airport as was improperly agreed to in the Decree. As illustrated in Montara, it was
28    THIRD AMENDED PETITION FOR WRIT OF MANDATE AND COMPLAINT FOR DECLARATORY AND
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                                            16
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 1
     the intent of Congress that airports subject to War Surplus Act instruments of
 2
     transfer (like Santa Monica Airport) were to be operated as an airport in perpetuity.
 3
     Only pursuant to an act of the US Congress would there be any authority to fully
 4
     release Santa Monica from obligations under the 1948 Instrument of Transfer that
 5
     the Airport be operated as an airport in perpetuity. As Congress has never taken
 6
     such action, no authority exists/existed that would allow for a release of such
 7
     obligations (i.e. allow for closure of the airport).
 8

 9
     53.    It is very clear that under 1948 Instrument of Transfer, in order to effect any

10   release of lands, a payment shall be made to the War Assets Administration or

11   successor thereto for the removal of such restrictions.
12   54.   It is also clear that no such payments or any consideration thereof (or waiver
13   thereof) was included in either the 1984 agreement or in the Decree and therefore
14   without such provisions for payment, etc. to the General Services Administration,
15   the any release of lands are fully invalid. Moreover, it is clear that the GSA did not
16   sign off on the agreement.
17   55.   Plaintiff is informed and believes because FAA is not a party to the 1948
18   Instrument of Transfer and because the FAA overstepped its authority in releasing
19   the entire Airport and its lands from the 1948 Instrument of Transfer, when it
20
     clearly had no right to do so, the entire Decree along with certain provisions of the
21
     1984 agreement should now be struck down as invalid.
22
                                Administrative Procedure Act
23
     56.   The Administrative Procedure Act (APA) provides a right to judicial review
24
     to any “person suffering legal wrong because of agency action.” 5 U.S.C. § 702.
25
     The APA defines agency action to “include[] the whole or a part of an agency rule,
26
     order, license, sanction, relief, or the equivalent or denial thereof, or failure to act.”
27
     5 U.S.C. §§ 551(13), 701(b)(2).
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                                     INJUNCTIVE RELIEF
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 1
     57.   The APA provides that a court shall compel an agency action that is
 2
     “unlawfully withheld or unreasonably delayed,” and shall hold unlawful and set
 3
     aside agency actions found to be “arbitrary, capricious, an abuse of discretion, or
 4
     otherwise not in accordance with law.” 5 U.S.C. § 706(1) & (2)(A).
 5
     58.   5 U.S.C. § 706 provides that, “[t]he reviewing court shall . . . hold unlawful
 6
     and set aside agency action, findings, and conclusions found to be . . . in excess of
 7
     statutory jurisdiction, authority, or limitations, or short of statutory right.” 5 U.S.C.
 8

 9
     § 706(2)(C). The “arbitrary and capricious” standard forms a separate basis to set

10   aside agency action, 5 U.S.C. § 706(2)(A),

11   59.   Plaintiff is informed and aware that Federal agencies are also required to
12   consider the “reasonably foreseeable” effects of the proposed major Federal action,
13   including effects that are direct, indirect, or cumulative. 40 C.F.R. §§ 1508.7,
14   1508.8, 1508.25., which Plaintiff believes that the FAA has not done as outlined
15   below.
16   60.   Plaintiff alleges that FAA actions violated 5 U.S.C. sections 553, 705, and
17   706, and now seeks a declaratory judgment that Defendants acted arbitrarily,
18   capriciously, contrary to law, abused their discretion, and failed to follow the
19   required procedure in entering into and the Decree and certain provisions of the
20
     1984 agreement with the City of Santa Monica.
21
     61.   Also as discussed above, the FAA had no congressional authority
22
     whatsoever to release any lands, let alone fully release the City of Santa Monica
23
     from all of its land use obligations under 1948 Instrument of Transfer and/or allow
24
     eventual closure as it did in the Decree. As such, it is clear that the FAA
25
     overstepped its authority and acted arbitrarily, capriciously, contrary to law, abused
26
     their discretion, and failed to follow the required procedures.
27

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                                     INJUNCTIVE RELIEF
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 1
     62.   Even if the FAA had the right to enter into the Decree (which it did not)
 2
     FAA actions violated 5 U.S.C. sections 553 because it fully failed to consider the
 3
     full effects of their actions in entering into the decree and the rights of all interested
 4
     and/or affected parties. In brief, the FAA was required to obtaining public
 5
     commentaries public in general and especially from affected parties. Such parties
 6
     would include airport users such as Plaintiff, the United States Department of
 7
     Defense and other US Agencies that have certain rights under 1948 Instrument of
 8

 9
     Transfer, along with other parties that have rights over Santa Monica Airport. Such

10   other parties include the State of California, which has eminent domain under the

11   California State Aeronautics Act (California Public Utilities Code § 21001 et seq.),
12   the City of Los Angeles, which shares co-jurisdiction over the airport and/or the
13   County of Los Angeles.
14   63.   At the time of the Decree, there were Part 16 actions pending with the FAA
15   against the City of Santa Monica related to various violations of various Federal
16   obligations that were purportedly also settled as part of the Decree. Plaintiff is
17   informed and believes that the FAA had specific obligations to discuss possible
18   resolution with the named Plaintiff’s who actually filed those Part 16 actions
19   (and/or non named parties whose potential claims were also represented as a class
20
     by those Part 16 actions)
21
     64.   The FAA violated its obligations under the APA by granting the City of
22
     Santa Monica the right to shorten the runway (with 30 days notice) without having
23
     undertaken it obligations under NEPA to determine any possible detrimental
24
     effects that may occur to the National Airspace System.
25
     65.   The FAA also violated its obligations under the APA by granting the City of
26
     Santa Monica the right to shorten the runway (with 30 days notice) without having
27
     considered the safety issues that would arise from pilots having outdated charts
28    THIRD AMENDED PETITION FOR WRIT OF MANDATE AND COMPLAINT FOR DECLARATORY AND
                                     INJUNCTIVE RELIEF
                                            19
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 1
     reflecting the wrong runway length information. The main charts relied upon by
 2
     pilots are only published twice a year and Plaintiff is aware that there is a long
 3
     lead-time to make any corrections or changes to those charts. As a result, because
 4
     the FAA allowed the City to shorten the runway without having properly updating
 5
     charts, it created a very dangerous situation, wherein pilots were unable to
 6
     ascertain that they might be flying into an airport wherein the runway was not long
 7
     enough for either their arrival or departure.
 8

 9
     66.   Plaintiff is informed and believes that such failure on the part of the FAA to

10   ensure that charts were fully updated, actually resulted in numerous problems from

11   pilots, including buy not limited to missed approaches due to the shortened runway,
12   resulting in problematic consequences to the National Airspace System, that may
13   have resulted in such things as delays at other airports and additional costs to other
14   aircraft operators and or potential aircraft spacing issues.
15   67.   Plaintiff contends that the Court should order vacatur of the portions of the
16   1984 agreement wherein the FAA illegally and improperly released lands, because
17   it is required under the APA, see 5 U.S.C. § 706(2), and is the “standard remedy”
18   when a court concludes that an agency’s conduct was illegal under the APA.
19   68.   Plaintiff contends that the Court should order vacatur of the entire Decree
20
     since the FAA fully lacked authority to enter into the Decree, because it is required
21
     under the APA, see 5 U.S.C. § 706(2), and is the “standard remedy” when a court
22
     concludes that an agency’s conduct was illegal under the APA.
23
     69.   Plaintiff contends that the Court should order vacatur of the entire Decree
24
     since the failed to seek public and interested party input and otherwise failed to
25
     fully realize the effects of their actions, because it is required under the APA, see 5
26
     U.S.C. § 706(2), and is the “standard remedy” when a court concludes that an
27
     agency’s conduct was illegal under the APA.
28    THIRD AMENDED PETITION FOR WRIT OF MANDATE AND COMPLAINT FOR DECLARATORY AND
                                     INJUNCTIVE RELIEF
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 1
                            National Environmental Policy Act
 2
     70.   The National Environmental Policy Act (NEPA), 42 U.S.C. § 4321 et seq.
 3
     Requires in part that a Federal agency consider the environmental impact of its
 4
     proposed action, and calls for detailed statement is called an environmental impact
 5
     statement or EIS pursuant to 42 U.S.C. § 4332(2)(C).
 6
     71.   Even if the Decree were valid (which it is not), Plaintiff is informed and
 7
     believes that the FAA failed to do an EIS of its own to determine any possible
 8

 9
     detrimental effects that may occur to the National Airspace System, potential

10   dangers to pilots, ET AL in taking actions wherein it (improperly) entered into a

11   Decree with the City of Santa Monica wherein it granted the ability to shorten the
12   runway to 3500 feet (on very short notice) and to eventually close the airport
13   altogether. Such failure also constitutes a violation of the APA as asserted above.
14   72.   Even if the court Decree were valid (which it is not) Plaintiff is aware that
15   the City of Santa Monica has an obligation pursuant to Paragraph II (c) of the
16   Decree to perform Environmental Studies wherein the “City shall be responsible
17   for complying with its state and federal environmental requirements related to its
18   planning and implementation of modifications at SMO. The City's responsibility
19   shall include the cost of conducting any necessary environmental studies or other
20
     requirements under the National Environmental Policy Act (NEPA). 42 U.S.C. §
21
     4321 et seq.”
22
     73.   Plaintiff is informed and believes that the City of Santa Monica did indeed
23
     shorten the runway without complying with its Environmental Studies obligations
24
     pursuant to Paragraph II (c) of the Decree.
25
     74.   Plaintiff is informed and believes that the FAA has violated its obligations
26
     under the Decree, ET AL to ensure that the City of Santa Monica has complied
27
     with all of its local, state and federal environmental requirements prior to allowing
28    THIRD AMENDED PETITION FOR WRIT OF MANDATE AND COMPLAINT FOR DECLARATORY AND
                                     INJUNCTIVE RELIEF
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 1
     any shortening to begin. Such failure also constitutes a violation of both NEPA and
 2
     the APA.
 3
     75.   Plaintiff is informed and believes that both the FAA and City of Santa
 4
     Monica should be now ordered to comply with Environmental Requirement
 5
     obligations pursuant to both state and federal law.
 6
     76.   Plaintiff is informed and believes that the FAA and City of Santa Monica
 7
     should now be ordered to reverse the shortening of the runway until such time as
 8

 9
     all Environmental Requirements are met by the City of Santa Monica.

10   77.   Plaintiff is informed and believes that the City of Santa Monica also failed to

11   follow FAA procedures (including giving proper notice) prior to starting
12   construction to shorten the runway and as such was precluded from doing so. As
13   such the FAA and City of Santa Monica should now be ordered to reverse the
14   shortening of the runway until such time as all FAA requirements are met by the
15   City of Santa Monica.
16               Lack of authority for the parties to enter into the Decree
17   78.   The signatories executing the Decree on behalf of the FAA and the City did
18   not have authority to bind the FAA or the City, thus further rendering the Decree
19   void ab initio.
20
     79.   Under Section VIII, Paragraph D, the representatives of the FAA and City
21
     certify they are authorized to enter into the Decree, also referenced as a settlement
22
     agreement concerning the disposition, status, and closure of the Santa Monica
23
     Airport. However, the signatories Reginald C. Govan, as Chief Counsel of the
24
     FAA and Rick Cole, as City Manager of the City did not have the conferred
25
     authority to accomplish the feats attempted in the Decree.
26
     80.   Under California law, and specifically, Davidson vs. Sup. Ct. (City of
27
     Mendota) (1999) 70 Cal.App.4th 514, 528, a settlement agreement was held
28    THIRD AMENDED PETITION FOR WRIT OF MANDATE AND COMPLAINT FOR DECLARATORY AND
                                     INJUNCTIVE RELIEF
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 1
     unenforceable because it was based on stipulated settlement signed only by
 2
     attorneys. Here, Reginald C. Govan is not the authorized signatory of the FAA and
 3
     as Chief Counsel, under California law, did not bind the FAA.
 4
     81.   Under the counter-initiative the City filed in 2014 against pilots of the Santa
 5
     Monica Airport, the City Council itself reserved all authority to regulate, manage,
 6
     and permanently close all or part of the Santa Monica Airport. This initiative was
 7
     codified as City Charter section 640. When Rick Cole as City Manager signed the
 8

 9
     Decree, there was no resolution or ordinance of the City Council authorizing the

10   City Manager to act on behalf of the City Council; furthermore, Charter section

11   640 states “City Council” not the “City Manager” and the oral report out of a
12   closed session by the City Attorney had no force to abrogate Charter section 640.
13   Lastly, the Decree never appeared as an agendized item for public scrutiny before
14   the City Manager signed it demonstrating a lack of a formal City Council action,
15   resolution, or ordnance empowering the City Manager to act on behalf of the City
16   Council.
17   82.   Plaintiff is informed and believes that the Decree should be held invalid and
18   unenforceable as the signatories placing their signatures on behalf of the FAA and
19   City did not possess the authority to bind the FAA and City to the Decree and their
20
     signatures and the Decree should now be struck down for failure to comply with
21
     the appropriate California law and Santa Monica Charter.
22
                    Violation of the State Aeronautics Act and CEQA
23
     83.   The California State Aeronautics Act (California Public Utilities Code
24
     Section 21001 et seq.) governs various matters relative to aviation in this state.
25
     places a number of licensing and other requirements on public airport operators.
26
     84.   Public Utilities Code (PUC), Section 21675(a) requires preparation of an
27
     airport land use compatibility plan (ALUCP) for each public use airport in the state.
28    THIRD AMENDED PETITION FOR WRIT OF MANDATE AND COMPLAINT FOR DECLARATORY AND
                                     INJUNCTIVE RELIEF
                                            23
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 1
     85.   The ALUCP is designed to encourage compatible land uses in the vicinity
 2
     surrounding an airport. It provides for the “orderly growth of each public airport
 3
     and the area surrounding the airport” while safeguarding “the general welfare of
 4
     the inhabitants within the vicinity of the airport and the public in general (PUC
 5
     Section 21675(a)).” The ALUCP contains criteria for making consistency
 6
     determinations, including building standards and height and land use restrictions.
 7
     86.   An ALUCP must be formulated for “each public airport” (i.e., as in this case,
 8

 9
     an airport operated for the benefit of the general public) within the jurisdiction of

10   the Airport Land Use Commission (ALUC) (Section 21675(a)).

11   87.   Prior to the amendment of a general plan or specific plan, or the adoption of
12   a zoning ordinance or building regulation within the ALUCP planning boundary,
13   the ALUC shall review the plan, ordinance, or regulation for consistency with the
14   ALUCP (PUC Section 21676(b)).
15   88.   The adoption or amendment of an ALUCP is a “project” under California
16   Environmental Quality Act (CEQA; Public. Resources Code (PRC), Section 21000
17   et seq.) and thus requires an Environmental Impact Report be done.
18   89.   Plaintiff is informed and believes that the City of Santa Monica has
19   consistently failed in its obligations under the State Aeronautics Act to prepare and
20
     submit and airport land use compatibility plans (ALUCP) to the LA County
21
     Airport Land Use Commission (ALUC) and that it so doing, it has also violated its
22
     obligations under CEQA.
23
     90.   Plaintiff has personally checked with the LA County Airport Land Use
24
     Commission to see if the City of Santa Monica ever submitted ALUCP related to
25
     the 1984 agreement and found that it did not do so.
26
     91.   Plaintiff is informed and believes that the City of Santa Monica proceeded
27
     with construction (i.e. shortening the runway) without first having submitted a new
28    THIRD AMENDED PETITION FOR WRIT OF MANDATE AND COMPLAINT FOR DECLARATORY AND
                                     INJUNCTIVE RELIEF
                                            24
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 1
     ALUCP for approval by the LA county ALUC and conducting required
 2
     environmental studies related thereto.
 3
     92.   Plaintiff is informed and believes that because CSM entered into the Decree
 4
     allowing it to both shorten the runway and to close the airport, the City was
 5
     required to notify the State of California pursuant to Section 21605 so that it may
 6
     determine if such activities will have impact on the entire state air transportation
 7
     system and so that it can take steps to protect entire state air transportation system
 8

 9
     from any impact that such activities might create. Plaintiff is further informed and

10   believes that CSM failed to take such required steps.

11   93.   Plaintiff believes that the State of California has eminent domain to take
12   steps to prevent the City of Santa Monica from making changes or closing the
13   airport should it feel that such activities will have impact on the entire state air
14   transportation system, including but not limited to taking possession of the airport.
15   94.   Plaintiff is informed and believes that actions of the City of Santa Monica
16   and the FAA have negatively impacted the state air transportation system.
17   95.   Plaintiff is informed and believes that the City of Santa Monica has failed in
18   its obligations under the California Public Utilities Code Section 21001 et seq,
19   CEQA and specifically Section 21605. Plaintiff is further informed and believes
20
     that State was denied the opportunity to take its own appropriate actions, but for
21
     the fact that CSM failed to perform its obligations.
22
     96.    Plaintiff is informed and believes that the City of Santa Monica should now
23
     be ordered to comply with all state regulations under the California State
24
     Aeronautics act.
25
                 Decree is Invalid due to City Council Conflict of Interest.
26
     97.   Plaintiff is informed and believes that at least one if not more Santa Monica
27
     City Council members who voted to approve the Decree, were in fact fully
28    THIRD AMENDED PETITION FOR WRIT OF MANDATE AND COMPLAINT FOR DECLARATORY AND
                                     INJUNCTIVE RELIEF
                                            25
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 1
     prohibited from voting for to approve the Decree as they are affected parties with
 2
     conflicting interests (including financial) pursuant to the California Political
 3
     Reform Act (Gov. Code, § 87100 et seq) and Government Code section 1090.
 4
     98.   Plaintiff is informed and believes that councilman/Mayor Edward J. “Ted”
 5
     Winterer was in fact one of those affected parties with conflicting interests as
 6
     Plaintiff has is aware that Mr. Winterer lives directly upwind from the end of the
 7
     runway under the normal flight path and would benefit (financially and otherwise)
 8

 9
     from the closure of the airport.

10   99.   Here, the conflict is evident and there was no disclosure by the Mayor. The

11   Mayor’s financial investment interest and its proximity to the Santa Monica
12   Airport is a realistic possibility, i.e. more than hypothetical or theoretical, and the
13   change from an Airport to office use like the Santa Monica Business Park is likely
14   to increase the Mayor’s property nearby the airport. Therefore, there is violations
15   of 2 Cal. Code Regs 18701(b) and at minimum an analysis of the financial interest
16   should have taken place and disclosure was proper and appropriate.
17   100. Santa Monica City Council City Council minutes show that the approval of
18   the Decree was by a narrow 4 to 3 vote (4 in favor, 3 against) Plaintiff is informed
19   and believes that had Mr. Winterer recused himself as required by law for conflict
20
     of interest, the City Council would have lacked enough votes to approve entry into
21
     the Decree.
22
     101. Plaintiff is informed and believes that the vote of Mr. Winterer should now
23
     be struck down for failure to recuse from voting for conflict of interest, which
24
     would mean that the resolution to approve Decree did not have enough votes to
25
     have been approved, assuming that the vote was sufficient to settle the case, as
26
     there was no written authorization to the City Manager to execute the Decree. This
27
     conflict of interest and violation of the Political Reform Act, Government Code
28    THIRD AMENDED PETITION FOR WRIT OF MANDATE AND COMPLAINT FOR DECLARATORY AND
                                     INJUNCTIVE RELIEF
                                            26
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 1
     section 1090, and 2 Cal. Code Regs. 18701 are likely the reason the Mayor did not
 2
     sign the Decree.
 3
                        Violation of the Local Regulations and CEQA
 4
     102. As discussed above the City of Santa Monica shares co-jurisdiction over the
 5
     Santa Monica Airport because the eastern portion is located in the City of Los
 6
     Angeles. As a result of this co- jurisdiction, the City of Santa Monica was required
 7
     to seek all appropriate approvals by the City of Los Angeles (and its City Council)
 8

 9
     pursuant to the Los Angeles City Charter and Municipal code prior to any activities

10   or construction that involves the Los Angeles portion of the Airport. This would

11   also include providing the City of Los Angeles with Environmental impact reports
12   to the City of Los Angeles as required under CEQA.
13   103. Plaintiff is informed and believes that the City of Santa Monica has and
14   continues to completely ignore that fact that it lacks full sovereign jurisdiction of
15   the Airport and thereby fails to seek appropriate approvals, construction permits
16   etc. from the City of Los Angeles.
17   104. Plaintiff has checked with the City of Los Angeles and has found that in the
18   past, City of Santa Monica has in fact sought building permits from the City of Los
19   Angeles, demonstrating that it is/was aware of its obligations to the City of Los
20
     Angeles.
21
     105. Plaintiff is informed and believes that that City of Santa Monica previously
22
     built parking lots that it rents out to Car Dealerships for the storage of cars, without
23
     first having sought appropriate approvals/permits from the City of Los Angeles.
24
     106. Plaintiff is informed and believes that that City of Santa Monica not only
25
     approved a plan for the shortening of the runway that involves construction on/in
26
     the City of Los Angeles portion of the airport without taking steps to seek
27

28    THIRD AMENDED PETITION FOR WRIT OF MANDATE AND COMPLAINT FOR DECLARATORY AND
                                     INJUNCTIVE RELIEF
                                            27
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 1
     appropriate approvals, construction permits etc. from the City of Los Angeles, but
 2
     that it actually engaged in illegal construction without proper permits.
 3
     107. Plaintiff is also aware that Santa Monica Airport is essentially bounded on 3
 4
     sides by City of Los Angeles and that the City of Santa Monica did construction
 5
     work from 9pm to 7am less than a few hundred feet from residences located in the
 6
     City of Los Angeles without proper permits to do so.
 7
     108. Plaintiff is informed and believes that the City of Santa Monica should now
 8

 9
     be ordered to comply with all local regulations related to the City of Los Angeles

10   portion of the airport. Plaintiff is further informed and believes that that the City of

11   Santa Monica should now be ordered to reverse all illegal construction that it
12   engaged in without proper permitting, etc.
13   109. Plaintiff is informed and believes that the City of Santa Monica engaged in
14   illegal construction at Santa Monica Airport without proper permits pursuant to its
15   own municipal and building codes. Plaintiff checked with the City of Santa Monica
16   and has found that in the past, that it has in fact sought building permits from the
17   itself for construction activities at the airport, demonstrating that it is/was aware of
18   its obligations under its own municipal and building codes.
19   110. Plaintiff is informed and believes that the City of Santa Monica should now
20
     be ordered to comply with it own all local regulations its own municipal and
21
     building codes. Plaintiff is further informed and believes that that the City of Santa
22
     Monica should now be ordered to reverse all illegal construction that it engaged in
23
     without proper permitting, etc.
24
           Failure to Enforce Federal Regulations Governing Public Airports
25
     111. Plaintiff is informed and believes that the FAA has consistently failed to
26
     enforce its regulations related to Santa Monica Airport. Plaintiff is aware of
27
     numerous violations of such regulations, including the fact that the City of Santa
28    THIRD AMENDED PETITION FOR WRIT OF MANDATE AND COMPLAINT FOR DECLARATORY AND
                                     INJUNCTIVE RELIEF
                                            28
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 1
     Monica has been very discriminatory towards aviation in general and has engaged
 2
     in numerous activities to keep or otherwise exclude aviation interest from the
 3
     airport, including but not limited to setting up a business licensing system wherein
 4
     it has routinely denied licenses for aviation related activities.
 5
     112. Plaintiff is informed and aware that the City of Santa Monica has engaged in
 6
     numerous activities that involve revenue diversion, wherein the City has rented
 7
     buildings, spaces, etc. for non-aviation activities at below market rates and/or has
 8

 9
     used the airport facilities for its own purposes without payment for said usage to

10   name a few. The City has fully admitted to such revenue diversion to the FAA in

11   response to a Part 16 filing that alleged such diversion, yet the FAA has never
12   taken any action whatsoever.
13   113. Plaintiff is informed and aware that that a large percentage of hangers
14   located at the airport are occupied by non-aviation activities in violation of
15   numerous FAA policies. Plaintiff is also aware that at least another ¼ of the
16   hangers at the airport are currently unoccupied due to the fact that the City is
17   discriminating against aviation by trying to charge rental fees that are far higher
18   than any other airport in the region and that may be in violation of other city
19   regulations. Plaintiff is also on the hanger waiting list (which is very long) and has
20
     been on it for a couple of years.
21
     114. Plaintiff is informed and believes that the City of Santa Monica also violated
22
     numerous FAA policies when it instituted the current landing fees at SMO, yet the
23
     FAA has never taken any action whatsoever to see if those fees are both legal and
24
     warranted.
25
     115. Plaintiff is also aware that the City of Santa Monica specifically violated it
26
     federal grant obligations when it recently closed off a section of the airport to
27

28    THIRD AMENDED PETITION FOR WRIT OF MANDATE AND COMPLAINT FOR DECLARATORY AND
                                     INJUNCTIVE RELIEF
                                            29
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 1
     aviation, when it had used federal grant money for improvement of the section of
 2
     the airport.
 3
     116. Plaintiff is informed and believes that the FAA should now be ordered to
 4
     take steps to fully ensure that the City of Santa Monica complies with all of its
 5
     regulations. Plaintiff also believes that the City of Santa Monica should be ordered
 6
     to comply with all FAA regulations
 7

 8                               FIRST CLAIM FOR RELIEF
 9                                DECLARATORY RELIEF
10   117. Plaintiff incorporates by reference each allegation contained in the foregoing
11   paragraphs of this Complaint and Exhibits as if fully set forth herein.
12   118. Plaintiff brings this cause of action as both an affected party and a Private
13   Attorney General under the Private Attorney General Doctrine in the public
14   interest as of other persons similarly affected or situated.
15   119. As discussed above, Plaintiff is informed and believes that because the City
16   failed to properly contract with outside counsel, the court should declare the
17   contract and work product related thereto including lawsuit, 13-CV-08046-JFW-
18   VBKx invalid ab initio such failure.
19   120. As discussed above, Plaintiff is informed and believes that because the City
20
     of Santa Monica failed to file a claim with the “appropriate government agency”
21
     and wait six (6) months pursuant to FTCA, 28 U.S.C. § 2675 before bringing such
22
     an action before it exhausted administrative remedies, the court should declare the
23
     lawsuit, 13-CV-08046-JFW-VBKx invalid ab initio for failure file an
24
     administrative claim prior to filing the Action.
25
     121. Also as discussed above, Plaintiff is informed and believes that because the
26
     City of Santa Monica failed to file a claim with the “appropriate government
27
     agency” and wait six (6) months pursuant to FTCA, 28 U.S.C. § 2675 before
28    THIRD AMENDED PETITION FOR WRIT OF MANDATE AND COMPLAINT FOR DECLARATORY AND
                                     INJUNCTIVE RELIEF
                                            30
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 1
     bringing such an action before it exhausted administrative remedies, and because it
 2
     failed to properly frame/allege in its complaint that an administrative claim was
 3
     asserted, the court fully lacked jurisdiction over the Action. The court should
 4
     declare the lawsuit, 13-CV-08046-JFW-VBKx invalid ab initio for failure lack of
 5
     jurisdiction.
 6
     122. Also as discussed above, Plaintiff is informed and believes that because the
 7
     City of Santa Monica failed to file a claim with the “appropriate government
 8

 9
     agency” and wait six (6) months pursuant to FTCA, 28 U.S.C. § 2675 before

10   bringing such an action before it exhausted administrative remedies, the FAA had

11   certain obligations to have the Action dismissed and/or overstepped its authority
12   entering into the Decree when it clearly had no right to do so. The court should
13   declare that the entire Decree is invalid ab initio due to the fact that the FAA failed
14   to have the Action dismissed and/or had no actual authority to enter into such a
15   Decree.
16   123. Plaintiff contends that the Court should order vacatur of the entire Decree
17   since the FAA fully lacked authority to enter into the Decree because it is required
18   under the APA, see 5 U.S.C. § 706(2), and is the “standard remedy” when a court
19   concludes that an agency’s conduct was illegal under the APA.
20
     124. Also as discussed above, Plaintiff is informed and believes that because the
21
     FAA lacked authority to release land restrictions on portions of Santa Monica
22
     Airport for non-aviation purposes pursuant to the 1948 Instrument of Transfer
23
     agreement the court should now declare that any such releases pursuant to the 1984
24
     agreement as invalid ab initio.
25
     125. Also as discussed above Plaintiff is informed and believes that the votes of
26
     certain conflicted city council members should now be struck down for failure to
27
     recuse themselves from voting for conflict of interest pursuant to the California
28    THIRD AMENDED PETITION FOR WRIT OF MANDATE AND COMPLAINT FOR DECLARATORY AND
                                     INJUNCTIVE RELIEF
                                            31
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 1
     Political Reform Act (Gov. Code, § 87100 et seq) and 2 Cal. Code Regs. 18701(b),
 2
     rendering approval of the Decree by the City Council invalid.
 3
     126. Plaintiff contends that the Court should order vacatur of the portions of the
 4
     1984 agreement wherein the FAA illegally and improperly released lands because
 5
     it is required under the APA, see 5 U.S.C. § 706(2), and is the “standard remedy”
 6
     when a court concludes that an agency’s conduct was illegal under the APA.
 7
     127. As discussed above, even if the court should somehow find that both the
 8

 9
     Action and Decree were valid, Plaintiff contends that the Court should order

10   vacatur of the entire Decree since the FAA violated the APA by failing comply

11   with NEPA and to seek public and interested party input and otherwise failed to
12   fully realize the effects of their actions, because it is required under the APA, see 5
13   U.S.C. § 706(2), and is the “standard remedy” when a court concludes that an
14   agency’s conduct was illegal under the APA.
15   128. As discussed above, the court should declare that the runaway shortening
16   and construction were illegal due to the failure of CSM to comply with all local,
17   state and federal obligations and require that CSM undo or otherwise reverse all
18   construction that it has already illegally engaged in.
19   129. The court should declare that the signatures of Reginald C. Govan, as Chief
20
     Counsel, did not bind the FAA and that of Rick Cole, as City Manager, did not
21
     bind the City as both were contrary to California law, Davidson vs. Sup. Ct. (City
22
     of Mendota) (1999) 70 Cal.App.4th 514, 528 as to Chief Counsel Reginald C.
23
     Govan and the FAA, and Santa Monica City Charter section 640 as to City
24
     Manager Rick Cole and the City; therefore the Decree is unenforceable, and void
25
     as the signatories did not possess the requisite authority under Section VIII,
26
     Paragraph D of the Decree.
27

28    THIRD AMENDED PETITION FOR WRIT OF MANDATE AND COMPLAINT FOR DECLARATORY AND
                                     INJUNCTIVE RELIEF
                                            32
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 1
     130. Notwithstanding the lack of authority of the signatories, the court should
 2
     declare that the vote of Mayor Ted Winterer as invalid as a conflict of interest thus
 3
     rendering the closed session report out by the City Attorney not a 4-3 vote but a 3-
 4
     3 vote due to the violations of the Political Reform Act, Government Code section
 5
     1090, and 2 Cal. Code Regs section 18701(b).
 6
     131. An actual controversy exists between the parties concerning the actions of
 7
     both the FAA and City of Santa Monica related to the lawsuit and related Decree
 8

 9
     resulting from that lawsuit.

10   132. A judicial determination resolving this actual controversy is necessary and

11   appropriate at this time.
12   133. This determination is necessary and proper because Respondents refuse to
13   conform to the requirements of both State and Federal law
14                               SECOND CLAIM FOR RELIEF
15
                                     WRIT OF MANDATE

16
     134. Plaintiff incorporates by reference each allegation contained in the foregoing

17
     paragraphs of this Complaint and all Exhibits as if fully set forth herein.

18   135. Plaintiff brings this cause of action as an affected party and as Private
19   Attorney General under the Private Attorney General Doctrine in the public
20   interest as of other persons similarly affected or situated.
21   136. By the actions alleged above, Plaintiff believes that the Court should now
22   order the FAA take steps to fully ensure that it complies with the APA and NEPA.
23   137. By the actions alleged above, Plaintiff believes that the Court should now
24   order the FAA take steps to fully ensure that the City of Santa Monica complies
25   with all of its (FAA) regulations.
26

27

28    THIRD AMENDED PETITION FOR WRIT OF MANDATE AND COMPLAINT FOR DECLARATORY AND
                                     INJUNCTIVE RELIEF
                                            33
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 1
     138. By the actions alleged above, Plaintiff believes that the Court should now
 2
     order the City of Santa Monica to comply with all of its environmental obligations,
 3
     including but not limited to compliance with both NEPA and CEQA.
 4
     139. By the actions alleged above, Plaintiff believes that the Court should now
 5
     order the City of Santa Monica comply with all FAA regulations.
 6
     140. By the actions alleged above, Plaintiff believes that the Court should now
 7
     order the City of Santa Monica should now be ordered to comply with all State and
 8

 9
     local regulations and specifically those related to the City of Los Angeles portion

10   of the airport.

11   141. An actual controversy exists between the parties concerning the actions of
12   both the FAA and City of Santa Monica related to the lawsuit and related Decree
13   resulting from that lawsuit.
14   142. A judicial determination resolving this actual controversy is necessary and
15   appropriate at this time.
16   143. This determination is necessary and proper because Respondents refuse to
17   conform to the requirements of both State and Federal law
18                               THIRD CLAIM FOR RELIEF
19                                  INJUNCTIVE RELIEF
20
     144. By Defendants continuing to engage in such actions as alleged above,
21
     Plaintiff (and those similarly situated) have been and will continue to be harmed by
22
     Defendants illegal actions related to the illegal and improper Decree entered into
23
     by the parties.
24
     145. Defendants have continually and consistently demonstrated that they know
25
     no legal bounds and that only by being enjoined by order of this Court, might the
26
     illegal improper actions by Defendants cease.
27

28    THIRD AMENDED PETITION FOR WRIT OF MANDATE AND COMPLAINT FOR DECLARATORY AND
                                     INJUNCTIVE RELIEF
                                            34
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 1
     146. In addition, if not enjoined by order of this Court, Defendant will continue to
 2
     engage in such illegal in improper actions related to the invalid portions of both the
 3
     1984 Agreement and the Decree.
 4
     147. Plaintiff does not have a plain, speedy, and adequate remedy in the ordinary
 5
     course of law.
 6
                                      PRAYER FOR RELIEF
 7
           WHEREFORE, Plaintiff prays for judgment against Defendants as follows:
 8

 9
     148. A declaration that the lawsuit, 13-CV-08046-JFW-VBKx was invalid ab

10   initio due to the failure of the City of Santa Monica to properly contract with

11   outside counsel.
12   149. A declaration that the lawsuit, 13-CV-08046-JFW-VBKx was invalid ab
13   initio due to the failure of the City of Santa Monica to file an administrative claim
14   with the “appropriate government agency” and wait six (6) months pursuant to
15   FTCA, 28 U.S.C. § 2675 before bringing such an action.
16   150. A declaration that the lawsuit, 13-CV-08046-JFW-VBKx was invalid ab
17   initio because the court lacked jurisdiction due to the failure of the City of Santa
18   Monica to file an administrative claim with the “appropriate government agency”
19   and wait six (6) months pursuant to FTCA, 28 U.S.C. § 2675 before bringing such
20
     an action.
21
     151. A declaration that the Decree in lawsuit, 13-CV-08046-JFW-VBKx was
22
     invalid ab initio due to fact that the FAA filed in its obligation to assert and/or
23
     move to strike the Action due to the fact that City of Santa Monica to file an
24
     administrative claim with the “appropriate government agency” and wait six (6)
25
     months pursuant to FTCA, 28 U.S.C. § 2675 before bringing such an action.
26
     152. A declaration that the Decree in lawsuit, 13-CV-08046-JFW-VBKx was
27
     invalid ab initio due to fact that the FAA lacked authority to enter in the Decree in
28    THIRD AMENDED PETITION FOR WRIT OF MANDATE AND COMPLAINT FOR DECLARATORY AND
                                     INJUNCTIVE RELIEF
                                            35
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 1
     the first instance.
 2
     153. A declaration that the Decree in lawsuit, 13-CV-08046-JFW-VBKx was
 3
     invalid ab initio due to fact that the conflicted city council members voted
 4
     approving the Decree and without such votes, the required approval would not
 5
     have ratified by City Council.
 6
     154. A declaration that the Court orders vacatur of the Decree in lawsuit, 13-CV-
 7
     08046-JFW-VBKx pursuant to 5 U.S.C. § 706(2), because the FAA violated the
 8

 9
     APA.

10   155. A declaration that the Court orders vacatur of the of the portions of the 1984

11   agreement wherein the FAA illegally and improperly released lands pursuant to 5
12   U.S.C. § 706(2), because the FAA violated the APA and also lacked proper
13   authority to release such lands.
14   156. The court should declare that the signatures of Reginald C. Govan, as Chief
15   Counsel, did not bind the FAA and that of Rick Cole, as City Manager, did not
16   bind the City as both were contrary to California law, Davidson vs. Sup. Ct. (City
17   of Mendota) (1999) 70 Cal.App.4th 514, 528 as to Chief Counsel Reginald C.
18   Govan and the FAA, and Santa Monica City Charter section 640 as to City
19   Manager Rick Cole and the City; therefore the Decree is unenforceable, and void
20
     as the signatories did not possess the requisite authority under Section VIII,
21
     Paragraph D of the Decree.
22
     157. For a writ of mandate directing that the FAA take steps to fully ensure that it
23
     complies with the APA and NEPA.
24
     158. For a writ of mandate directing that the FAA fully ensure that the City of
25
     Santa Monica complies with all of its (FAA) regulations.
26

27

28    THIRD AMENDED PETITION FOR WRIT OF MANDATE AND COMPLAINT FOR DECLARATORY AND
                                     INJUNCTIVE RELIEF
                                            36
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 1
     159. For a writ of mandate directing that the City of Santa Monica to comply with
 2
     all of its environmental obligations, including but not limited to compliance with
 3
     both NEPA and CEQA and with all FAA regulations.
 4
     160. For a writ of mandate directing that the City of Santa Monica should now
 5
     comply with all State and local regulations and specifically those related to the
 6
     City of Los Angeles portion of the airport.
 7
     161. For a writ of mandate directing that will retain jurisdiction to ensure that the
 8

 9
     continues to complies with all (FAA) regulations and that the FAA will need to

10   come to the court for further action in the event that the City is unwilling or unable

11   to comply.
12   162. For a writ of mandate directing that if in the City is unwilling to continue to
13   operate the airport in compliance with its obligations that the FAA is to either take
14   possession of Santa Monica Airport or find a party to take over operation of the
15   airport.
16   163. For preliminary injunctive relief as necessary the City of Santa Monica
17   should now be enjoined from making its contradictory statements/assertions
18   pursuant to the Doctrine of Equitable Estoppel and for a writ of mandate directing
19   that the City now needs to make a choice whether it argue that it needs the fees or
20
     that it wants to have a shortened runway, but that it cannot do both.
21
     164. For preliminary and permanent injunctive relief as necessary and appropriate
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     to cease any actions or activities related to the Decree, included but not limited to
23
     shortening of the runway and construction work related thereto, release of
24
     restrictions on Airport lands and/or closure of the airport in any way related to the
25
     Decree.
26
     165. For such further orders or declarations, as appropriate, declaring that the
27
     FAA and City of Santa Monica violated their ministerial obligations.
28    THIRD AMENDED PETITION FOR WRIT OF MANDATE AND COMPLAINT FOR DECLARATORY AND
                                     INJUNCTIVE RELIEF
                                            37
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